USCA Case #23-5273     Document #2113957              Filed: 05/02/2025       Page 1 of 29




             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued October 29, 2024                  Decided May 2, 2025

                                     No. 23-5273

                                 MATTHEW J. HIGHT,
                                    APPELLANT

                                          v.

              UNITED STATES DEPARTMENT OF HOMELAND SECURITY, ET
                                     AL.,
                                  APPELLEES


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:21-cv-03277)



                Jeffrey H. Redfern argued the cause for appellant. With
            him on the briefs were Robert Johnson and Daniel Nelson.

                 Patrick Morrisey, Attorney General, Office of the
            Attorney General for the State of West Virginia, Lindsay S.
            See, Solicitor General at the time the brief was filed, Michael
            R. Williams, Principal Deputy Solicitor General at the time the
            brief was filed, Tim Griffin, Attorney General, Office of the
            Attorney General for the State of Arkansas, Raúl Labrador,
            Attorney General, Office of the Attorney General for the State
            of Idaho, Brenna Bird, Attorney General, Office of the
USCA Case #23-5273     Document #2113957               Filed: 05/02/2025       Page 2 of 29




                                           2
            Attorney General for the State of Iowa, Kris Kobach, Attorney
            General, Office of the Attorney General for the State of Kansas,
            Lynn Fitch, Attorney General, Office of the Attorney General
            for the State of Mississippi, Andrew Bailey, Attorney General,
            Office of the Attorney General for the State of Missouri, Austin
            Knudsen, Attorney General, Office of the Attorney General for
            the State of Montana, Alan Wilson, Attorney General, Office of
            the Attorney General for the State of South Carolina, and Sean
            D. Reyes, Attorney General, Office of the Attorney General for
            the State of Utah, were on the brief for amici curiae States of
            West Virginia, et al. in support of appellant.

                Joshua Dos Santos, Attorney, U.S. Department of Justice,
            argued the cause for government appellees. On the brief were
            Brian M. Boynton, Principal Deputy Assistant Attorney
            General at the time the brief was filed, Matthew M. Graves,
            U.S. Attorney at the time the brief was filed, Mark B. Stern,
            Attorney at the time the brief was filed, and Joseph F. Busa,
            Attorney. Douglas C. Dreier, Attorney, entered an appearance.

                John Longstreth argued the cause for intervenor-appellees.
            With him on the brief were Mark H. Ruge and Tre A. Holloway.

                Before: MILLETT, WILKINS and PAN, Circuit Judges.

                Opinion for the Court filed by Circuit Judge MILLETT.

                 MILLETT, Circuit Judge: From 2015 to 2018, Captain
            Matthew Hight trained with the Saint Lawrence Seaway Pilots
            Association (“Pilots Association”) to become a maritime pilot
            on Lake Ontario and the St. Lawrence River. The Great Lakes
            Pilotage Act of 1960 (“Pilotage Act”) requires that certain
            ships on the Great Lakes and St. Lawrence River, which
            connects the lakes to the Atlantic Ocean, have a Coast Guard
            or Canadian registered pilot on board to assist with navigation.
USCA Case #23-5273     Document #2113957                 Filed: 05/02/2025       Page 3 of 29




                                            3
            The Pilotage Act vests authority in the Coast Guard to register
            American pilots, establish the conditions of their service, and
            set the rates they must charge. The Coast Guard is also tasked
            with supervising private pilotage associations that are
            responsible, by statute, for the “rendering of pilotage services.”
            46 U.S.C. § 9304(a). Pilotage associations are also charged, by
            regulation, with training new pilots. 46 C.F.R. § 401.220(b)(2)
            (2021). The Pilots Association is the only entity approved by
            the Coast Guard to train and dispatch pilots on Lake Ontario
            and the St. Lawrence River.

                 In 2018, Hight applied to the Coast Guard for registration
            as a pilot. The Pilots Association recommended that the Coast
            Guard deny Hight’s application.         After conducting an
            independent review of Hight’s training records, the Coast
            Guard denied Hight’s application. It determined that Hight
            failed to complete the Pilots Association’s prescribed training
            program and therefore did not have the navigational experience
            needed for registration. The Coast Guard also found that Hight
            was ineligible both because he did not have the temperament
            required of a maritime pilot and because he had received a
            negative recommendation from the Pilots Association.

                 Hight challenged that decision in federal court on several
            grounds. As relevant to this appeal, he argues that the Coast
            Guard (i) acted arbitrarily and capriciously in denying him
            registration as a pilot, in violation of the Administrative
            Procedure Act, (ii) unconstitutionally delegated regulatory
            authority to the Pilots Association, a private entity, and (iii)
            violated the First Amendment by requiring Hight to train with
            and join the Pilots Association. The district court rejected each
            of these claims. We affirm.
USCA Case #23-5273     Document #2113957                 Filed: 05/02/2025       Page 4 of 29




                                            4
                                            I

                                            A

                 “As a profession, pilotage owes its existence to the infinite
            variety of navigation hazards—currents, tides, sand bars,
            submerged objects, weather conditions, and the like—that
            mark the harbors and rivers open to commercial vessels” in the
            United States. Jackson v. Marine Expl. Co., 583 F.2d 1336,
            1338–1339 (5th Cir. 1978). Because each waterway presents
            unique hazards, “it has long been the practice of vessels” to hire
            local pilots to guide ships across these waters and between
            ports and the open sea. Id. at 1339.

                 Private pilotage associations are at the center of this
            profession, and have been for centuries. As early as the
            fourteenth century, pilot guilds and associations formed at
            major English ports. GROSVENOR M. JONES, PILOTAGE IN THE
            UNITED STATES 7 (1917). These associations were established
            by royal charter, and their “principal objects” were “to provide
            * * * a body of qualified and duly licensed pilots; to prevent
            unqualified persons from undertaking to pilot vessels at all;
            and, lastly, to provide for the regulation and good government
            of the bodies of licensed pilots.” Id. at 7–8 (citation omitted).

                 This tradition carried over to the United States. “When the
            government of the Union was brought into existence, it found
            a system for the regulation of its pilots in full force in every
            State.” Gibbons v. Ogden, 22 U.S. 1, 207 (1824). Though the
            federal government maintained “concurrent” jurisdiction over
            pilotage, the first Congress “adopt[ed]” the system of state-
            regulation of pilots and “g[a]ve it the same validity as if [the
            state] provisions had been specially made by Congress.” Id. In
            1789, Congress enacted a statute providing that “all pilots in
            the * * * rivers, harbours and ports of the United States, shall
USCA Case #23-5273     Document #2113957               Filed: 05/02/2025       Page 5 of 29




                                           5
            continue to be regulated in conformity with the existing laws
            of the States * * * until further legislative provision shall be
            made by Congress.” Id. at 116–117 (quoting Act of Aug. 7,
            1789, 1 Stat. 53, 54) (codified as amended at 46 U.S.C.
            § 8501(a)).

                 Today, States are still responsible for regulating most
            pilots. But Congress has preempted state regulation in certain
            areas, including the Great Lakes and St. Lawrence River.
            “Construction of the Saint Lawrence Seaway was completed in
            1959” and opened an accessible route for large commercial
            ships from the Great Lakes to the Atlantic Ocean. Halverson
            v. Slater, 129 F.3d 180, 182 (D.C. Cir. 1997). The seaway is
            made up of a system of locks and channels that allows vessels
            to navigate safely across the St. Lawrence River. Mike Piskur,
            Management of the Great Lakes-St. Lawrence Maritime
            Transportation System, 42 CAN.-U.S. L.J. 227, 228 (2018).

                 The year following the St. Lawrence Seaway’s
            construction, Congress passed the Great Lakes Pilotage Act of
            1960, 46 U.S.C. §§ 9301–9308. To address safety concerns
            from already increased traffic and to coordinate regulation with
            the Canadian government, the Pilotage Act requires that certain
            commercial ships hire an American or Canadian pilot to assist
            in navigation. American Great Lakes Ports Ass’n v. Schultz,
            962 F.3d 510, 512–513 (D.C. Cir. 2020). “[T]o provide for
            efficient dispatching of vessels and rendering of pilotage
            services[,]” the Act also empowers the Coast Guard to
            “authorize the formation of * * * pool[s] by * * * voluntary
            association[s] of United States registered pilots”—that is,
            private pilotage associations. 46 U.S.C. § 9304.

                 Pursuant to its statutory authority, the Coast Guard
            certified three pilotage associations to be the exclusive
            American providers of Great Lakes pilotage services in specific
USCA Case #23-5273     Document #2113957                 Filed: 05/02/2025       Page 6 of 29




                                            6
            regions—or “Districts”—of the Great Lakes and St. Lawrence
            River. See 46 C.F.R. § 402.320 (2021). The St. Lawrence
            Seaway Pilotage Association provides pilotage services in
            District One, which encompasses all domestic waters of the St.
            Lawrence River and Lake Ontario. Id. §§ 401.300(a)(1),
            402.320(a)(1)–(2) (2021). Under the Pilotage Act, the
            President is also authorized to “designate[]” certain parts of the
            Great Lakes for special pilotage requirements based on “the
            public interest, the effective use of navigable waters, marine
            safety, and the foreign relations of the United States.” 46
            U.S.C. § 9302(a)(2). In such designated waters, the pilot
            “direct[s] the navigation of the vessel subject to the customary
            authority of the master” of the vessel, while in non-designated
            waters, the pilot need only “be on board and available.” Id.
            § 9302(a)(1)(A), (B).

                 The President designated the waters of the St. Lawrence
            River for special pilotage requirements, but not Lake Ontario.
            Proclamation No. 3385, 25 Fed. Reg. 13679, 13681 (Dec. 24,
            1960); see also 81 Fed. Reg. 11908, 11910 (Mar. 7, 2016). The
            River is particularly difficult to navigate.          It takes
            approximately 10.8 hours to traverse and “is marked by
            numerous small islands and rocky outcrops, extremely narrow
            channels with vessel control regulations, swift currents, ice
            flows[,] and three sets of Seaway locks, where vessels have
            become trapped in early winter ice.” J.A. 271. Because
            navigation on the River is “so demanding[,]” pilots must switch
            out halfway through the 10.8 hour journey. J.A. 271. By
            contrast, pilots can navigate for over twenty hours without
            relief in certain undesignated parts of the Great Lakes. J.A.
            271.

                The Pilotage Act also charges the Coast Guard with
            “prescrib[ing] by regulation standards of competency to be met
            by each applicant [pilot] for registration[.]” 46 U.S.C.
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025       Page 7 of 29




                                           7
            § 9303(a). Under that authority, the Coast Guard issued
            regulations governing both the training and registration of
            pilots. Under the regulations in effect when Hight was seeking
            registration, the Coast Guard mandated that pilot associations
            submit their training “course[s] of instruction” for approval and
            that those courses meet ten “minimum criteria[.]” 46 C.F.R.
            § 402.220(b) (2021). The Coast Guard also had to approve
            each of the pilots designated to train applicants. See id.
            § 401.211(c) (2021).

                For applicants to become registered pilots on the Great
            Lakes and the St. Lawrence River, Coast Guard regulations
            created two types of registration. First, the agency offered
            “temporary certificate[s] of registration” to pilots who had met
            a subset, but not all, of their training program’s requirements.
            See 46 C.F.R § 401.220(e) (2021); J.A. 132–135.

                 Second, the Coast Guard offered five-year registrations to
            applicants who had met minimum qualifications and had
            completed three requirements specific to pilotage on the Great
            Lakes and the St. Lawrence River. The qualifications included
            that the applicant be “of good moral character and temperate
            habits[,]” possess various licenses, and pass a physical and
            vision examination. 46 C.F.R. § 401.210 (2021).

                 In addition, region-specific criteria required the applicant
            to complete a “minimum number of trips * * * over the waters
            for which application is made[,]” “a course of instruction * * *
            prescribed by the association authorized to establish the
            pilotage pool,” and “a written examination[.]” 46 C.F.R.
            § 401.220(b) (2021). Once a qualified applicant satisfied all of
            those requirements, the pilot association would submit to the
            Coast Guard a “recommendation[] together with its reasons for
            the registration” of the applicant. Id. § 401.220(c) (2021). The
            Coast Guard would then determine whether the applicant was
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025       Page 8 of 29




                                           8
            “qualified” for a five-year, renewable registration that allowed
            the applicant to perform pilotage services in one of the three
            districts of the Great Lakes. Id. §§ 401.220(d), 401.230(a),
            401.240 (2021).

                                           B

                                           1

                  At the time relevant to this case, the St. Lawrence Seaway
            Pilotage Association had a two-phase training plan. During the
            first phase—the “Applicant Pilot Training Phase”—applicant
            pilots made “all trips in the company of registered pilots.” J.A.
            132. At the end of each trip, the registered pilot evaluated the
            applicant’s performance and assigned a numerical grade for
            specific components, such as “Great Lakes pilotage
            knowledge” and “[a]bility to communicate[.]” J.A. 133. The
            training plan also prescribed a minimum number of trips
            applicants needed to complete out of specified ports in District
            One. J.A. 133–134.

                 At the end of the first phase, the Pilots Association would
            recommend applicant pilots to the Coast Guard to receive one-
            year temporary registrations that allowed them to solo pilot
            vessels on the undesignated waters of Lake Ontario, but not on
            the designated waters of the St. Lawrence River. Pilots who
            received that temporary registration were designated deputy
            pilots.

                 During the second phase—the “Deputy Pilot Training
            Phase”—deputy pilots used their temporary registration to
            work alone on Lake Ontario. J.A. 135. Under the plan,
            members of the Pilots Association’s training committee would
            “spot-check” the deputy pilots’ performance on the Lake “at
            least three times per season[.]” J.A. 135. The training plan
USCA Case #23-5273     Document #2113957                 Filed: 05/02/2025       Page 9 of 29




                                            9
            separately required the deputy pilots to “continue to make trips
            in the designated water of the pilotage district”—that is, the St.
            Lawrence River—“in the company of Registered Pilots.” J.A.
            135.

                 Pilots who successfully completed the deputy pilot
            training program could then seek full registration from the
            Coast Guard. 46 C.F.R. § 401.220(b), (d) (2021). Once
            granted registration, those pilots could become a member of the
            Pilots Association by purchasing one share of stock in the
            Pilots Association’s affiliated corporation. The price of each
            share was set at “the value of the corporation’s assets divided
            by the number of members in the Association.” J.A. 18. In
            2018, when Hight says he should have been allowed to join,
            the cost of a single share was close to $200,000. J.A. 18.

                                            2

                 Hight began his apprenticeship with the Pilots Association
            in 2015. Before that, he had served as a professional mariner
            on other waterways for twenty years and spent eight years as a
            ship master.

                By all accounts, Hight performed well during the applicant
            phase and, in 2016, the Pilots Association recommended to the
            Coast Guard that Hight receive his temporary registration. The
            Coast Guard found Hight to be qualified and issued him a one-
            year temporary registration for the 2016 shipping season,
            which it renewed in subsequent years.

                 At this point, the parties’ stories differ. According to
            Hight, he completed the deputy pilot training of the Pilots
            Association’s Training Plan in 2017 and, in early 2018, the
            Pilots Association told him it would make him a registered pilot
            that year. Hight says that, around this time, he approached John
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025        Page 10 of 29




                                            10
             Boyce, the president of the Pilots Association, with concerns
             about the Pilots Association’s financial decisions and some of
             Boyce’s practices as president. He questioned, in particular,
             the Pilots Association’s purchase of expensive property and
             Boyce’s close relationship with Todd Haviland, the Coast
             Guard’s Director of Great Lakes Pilotage.

                  The Coast Guard, by contrast, focuses on two incidents
             that occurred during Hight’s deputy pilot training. First, in the
             summer of 2017, while Hight was piloting a vessel solo on
             Lake Ontario, a tugboat that was assisting with the undocking
             of his vessel struck a buoy and was damaged. Hight later
             insisted that the “tugboat was damaged after it was untethered
             from [his] vessel (implying tugboat driver error)[,]” and said
             he did not learn of the damage “until days” after the incident.
             J.A. 245–246. Hight, however, never reported the incident to
             the Pilots Association or to the Coast Guard. J.A. 100, 153.
             When the accident came to light several months later, Hight
             acknowledged that he should have reported it. J.A. 100.

                  Second, in December 2017, while piloting the Federal
             Hudson, a Canadian-managed merchant ship, Hight had a
             heated argument with its ship master. J.A. 85–86. As the
             master was speaking over the radio, Hight shouted at him to be
             quiet. After mooring the vessel, Hight confronted the master
             on the bridge of the ship, accused him of a “lack of situational
             awareness[,]” and used “expletives[.]” J.A. 101.

                  Apart from these incidents, the Coast Guard claims that,
             once Hight obtained his temporary registration, he “focused on
             maximizing time on Lake Ontario” and completed
             approximately 100 solo trips during each of the 2016 and 2017
             seasons. J.A. 270. These trips allowed him to “earn ‘a full
             pilot’s salary’” while, according to the Coast Guard,
             “neglect[ing] his responsibility to continue his supervised
USCA Case #23-5273      Document #2113957                Filed: 05/02/2025         Page 11 of 29




                                             11
             training on the Saint Lawrence River[.]” J.A. 270 (citation
             omitted).

                  Based on these incidents, the Pilots Association
             recommended to Director Haviland in March 2018 that Hight
             not “continue as a Temporarily Registered Pilot and Applicant
             Pilot in Training on all District 1 waters for the 2018 season.”
             J.A. 153–154. Later that same day, the Director “concur[red]
             with [the Pilots Association’s] recommendation.” J.A. 155.
             Soon after, the Pilots Association removed Hight from its “tour
             de role”—the list of pilots available for dispatches. That action
             prevented Hight from piloting any ships in District One (that
             is, on Lake Ontario or the St. Lawrence River). J.A. 250.

                  The next month, the Coast Guard adjusted its decision and
             issued Hight a temporary registration for the 2018 navigation
             season. At the same time, Director Haviland informed Hight
             that he was “still an Apprentice Pilot” for the Pilots
             Association. J.A. 182.

                  Hight then requested that the Coast Guard administer the
             written exam required for full registration as a pilot and that, if
             he passed, he be granted a “full five year registration
             certificate[.]” J.A. 158. The Coast Guard refused on the
             grounds that Hight had not received a positive recommendation
             from the Pilots Association or completed the minimum number
             of trips on the designated waters of the St. Lawrence River
             within the time period required by regulation. See 46 C.F.R.
             §§ 401.220(b)(1), 402.220(a)(1) (2018).

                 Hight responded by filing suit in the United States District
             Court for the District of Columbia. The court ruled that the
             Coast Guard had misread the timeframe in which Hight had to
             accomplish his minimum trips. Hight v. United States Dep’t of
             Homeland Sec. (“Hight I”), 533 F. Supp. 3d 21, 27–30 (D.D.C.
USCA Case #23-5273       Document #2113957              Filed: 05/02/2025        Page 12 of 29




                                            12
             2021). The court then ordered the Coast Guard to administer
             the written exam to Hight. Id. at 30–31. In so ruling, the
             district court did not decide whether Hight, if he passed the
             exam, would otherwise be eligible for full registration, and the
             court was explicit that it did not “take a position on whether a
             positive recommendation from the relevant association is
             required before an Applicant Pilot can be fully registered by
             the Coast Guard.” Id. at 30.

                  Hight passed the written exam. J.A. 82. In July 2021, he
             requested that the Coast Guard provide him his “full five-year
             registration” and ensure that he be “immediately placed on the
             tour de role for work in District 1[.]” J.A. 83. The Pilots
             Association again recommended to the Coast Guard that Hight
             be denied registration.

                                            C

                  In December 2021, Director Haviland denied Hight’s
             request for full registration. The Director cited four grounds
             for the denial:

                     •    Hight “did not complete” the Pilots Association
                          training requirements and had not “clearly
                          demonstrated proficiency in piloting foreign
                          vessels through the[] challenging waters” of the St.
                          Lawrence River;

                     •    Hight “demonstrated unprofessional conduct and a
                          troubling lack of candor[,]” including in his
                          interaction with the Federal Hudson master and in
                          his failure to report the tugboat incident;

                     •    While providing        expert-witness deposition
                          testimony in an        unrelated lawsuit, Hight
USCA Case #23-5273       Document #2113957              Filed: 05/02/2025        Page 13 of 29




                                            13
                          misrepresented his title and experience as a Great
                          Lakes pilot and as a mariner; and

                     •    The Pilots Association did not recommend Hight
                          for registration.

             J.A. 85–87. With respect to the last point, the Director added
             that “I would deny your request even with a positive
             endorsement” from the Pilots Association. J.A. 87.

                 Hight administratively appealed that decision, and
             Michael Emerson, the Coast Guard Director of Marine
             Transportation Systems, issued a final decision on behalf of the
             Coast Guard affirming Haviland’s denial. The Systems
             Director relied on three of the grounds identified by Director
             Haviland.

                  First, in a section titled “Completion of the Association
             Training Plan[,]” the Systems Director found that Hight had
             not demonstrated “proficiency and expertise” in piloting
             vessels in District One. J.A. 269–272. He noted in particular
             that Hight had “neglected his responsibility to continue his
             supervised training on the Saint Lawrence River[.]” J.A. 270.

                  Second, as “an additional basis” for his decision, the
             Systems Director found that Hight did “not possess the calm
             demeanor and professional temperament necessary to safely
             pilot foreign vessels” in District One. J.A. 274. Emerson cited
             the “several incidents” identified in Director Haviland’s letter,
             emphasizing “the heated argument on the bridge[.]” J.A. 274.
             He also pointed to “the increasingly antagonistic and
             aggressive tone of [Hight’s] numerous emails” to the System
             Director’s staff. J.A. 274.
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025        Page 14 of 29




                                            14
                 Third, Emerson found that Hight lacked a
             recommendation from the Pilots Association and that such a
             recommendation “is standard industry practice.” J.A. 272. He
             concluded that the district court’s decision in Hight I had not
             “foreclosed any further input” from the Pilots Association on
             Hight’s fitness to hold a full registration. J.A. 273.

                  Hight filed suit challenging the Coast Guard’s final
             decision. He alleged that the Coast Guard’s decision was
             arbitrary and capricious under the Administrative Procedure
             Act (“APA”), 5 U.S.C. § 706(2)(A), violated both the private
             non-delegation doctrine and the First Amendment to the
             Constitution, and was collaterally estopped by Hight I. The
             Pilots Association intervened as a defendant, and the parties
             cross-moved for summary judgment.

                  The district court granted summary judgment in full to the
             Coast Guard. Hight v. United States Dep’t of Homeland Sec.,
             694 F. Supp. 3d 127 (D.D.C. 2023). First, the court held that
             Hight I did not preclude the Coast Guard from resting its
             registration denial on Hight’s incomplete training. Id. at 136–
             138. Second, the court held that Hight’s First Amendment
             claim and one of his APA claims were not ripe because both
             challenged the requirement that Hight join the Pilots
             Association to pilot in District One even though he was not yet
             eligible to join the Pilots Association. Id. at 136. Third, the
             court found the agency’s decision to deny Hight registration
             was not arbitrary and capricious for several reasons. Id. at 138–
             144. To start, the court pointed out that the agency rationally
             concluded that Hight failed to complete his Pilots Association-
             mandated training. The court noted, in particular, that the
             training plan required deputy pilots to make “supervised trips”
             (plural) on the St. Lawrence River, and Hight had completed
             just one supervised trip. Id. at 139. The Coast Guard also had
             “substantial evidence[,]” including the tugboat and Federal
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025        Page 15 of 29




                                            15
             Hudson incidents, to find that Hight was of unsuitable
             temperament. Id. at 142–143. Lastly, the court rejected
             Hight’s argument that the Coast Guard had unconstitutionally
             substituted the Pilots Association’s negative recommendation
             for its own judgment. Id. at 141. “The record shows,” the
             district court held, that “the Coast Guard did exercise its own
             judgment in denying registration for Captain Hight[.]” Id.

                  Hight appeals the district court’s judgment on three
             grounds. First, he claims the Coast Guard’s final decision was
             arbitrary and capricious. Second, he argues the Coast Guard
             unconstitutionally delegated authority over both training and
             registration decisions to a private body, the Pilots Association.
             Third, he claims the requirements that he train with and join the
             Pilots Association violate the First Amendment. Several States
             filed an amicus brief in support of Hight that focused on his
             private non-delegation claim.

                                            II

                 The district court had subject matter jurisdiction under 28
             U.S.C. § 1331. We have jurisdiction under 28 U.S.C. § 1291.

                 We review de novo the district court’s grant of summary
             judgment to the Coast Guard on Hight’s arbitrary-and-
             capricious and constitutional claims. Silver State Land, LLC v.
             Schneider, 843 F.3d 982, 989 (D.C. Cir. 2016); National
             Oilseed Processors Ass’n v. Occupational Safety & Health
             Admin., 769 F.3d 1173, 1179 (D.C. Cir. 2014).

                  The APA requires that we “hold unlawful and set aside
             agency action” that is “arbitrary, capricious, an abuse of
             discretion, or otherwise not in accordance with law.” 5 U.S.C.
             § 706(2)(A). Agency action is arbitrary and capricious “if the
             agency has relied on factors which Congress has not intended
USCA Case #23-5273     Document #2113957                 Filed: 05/02/2025        Page 16 of 29




                                            16
             it to consider, entirely failed to consider an important aspect of
             the problem, [or] offered an explanation for its decision that
             runs counter to the evidence before the agency[.]” Motor
             Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S.
             29, 43 (1983). In evaluating whether the agency has met this
             standard, the court must “not * * * substitute its [own]
             judgment for that of the agency.” Id.

                                            III

                   Two of Hight’s challenges are without merit, and we lack
             jurisdiction to reach the third. The Coast Guard’s final decision
             complied with the requirements of the APA because it was
             well-reasoned and supported by the record. The Coast Guard’s
             determination also fits comfortably within delegation
             principles because the Coast Guard relied on the Pilots
             Association only for advice and for assistance gathering facts.
             Hight’s First Amendment challenge, to the extent he preserved
             it, is not ripe.

                                             A

                  Hight’s claim that the Coast Guard’s final decision
             denying him registration was arbitrary and capricious fails
             because the Coast Guard reasonably concluded that Hight did
             not complete the deputy pilot training requirements and
             therefore did not qualify for registration under established
             Coast Guard regulations.

                                             1

                  In his final decision, Emerson explained that Hight failed
             to complete the “required training program” for pilot
             registration—specifically, Hight had not completed the
             required supervised trips on the St. Lawrence River. J.A. 269–
USCA Case #23-5273      Document #2113957                Filed: 05/02/2025         Page 17 of 29




                                             17
             270. That decision was both “reasonable and reasonably
             explained.” Cytori Therapeutics, Inc. v. Food & Drug Admin.,
             715 F.3d 922, 926 (D.C. Cir. 2013).

                  Pilot applicants must complete a pilotage association
             training plan to be eligible for registration. Coast Guard
             regulations provide that “[r]egistration of pilots shall be made
             from among those Applicant Pilots who have[,]” among other
             requirements, “completed a course of instruction for Applicant
             Pilots prescribed by the association authorized to establish the
             pilotage pool[.]” 46 C.F.R. § 401.220(b), (b)(2) (2021).

                  The Pilots Association’s training plan relevant for the
             Great Lakes and St. Lawrence River required deputy pilots, in
             addition to piloting trips on Lake Ontario, “[to] continue to
             make trips in the designated waters of the pilotage district”—
             that is, the St. Lawrence River—“in the company of Registered
             Pilots.” J.A. 135. The training plan did not specify the exact
             number of trips a deputy pilot needed to undertake, but the plan
             was explicit that at least two “trips” (plural) were required. J.A.
             135.

                  Hight does not dispute that he completed only one
             qualifying trip on the St. Lawrence River after becoming a
             deputy pilot. For a trip to satisfy the training requirement, a
             registered pilot had to accompany the deputy pilot and score
             the deputy’s performance at one or more points. J.A. 134–137.
             In May 2016, as a deputy pilot, Hight completed a single
             evaluated trip on the St. Lawrence River. J.A. 55, 153, 205,
             207.

                  Given that undisputed record of insufficient experience on
             the designated waters of the St. Lawrence River, Emerson
             rationally found and reasonably explained that Hight failed to
             complete the “supervised training on the Saint Lawrence River,
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025        Page 18 of 29




                                            18
             which was necessary to complete the training plan.” J.A. 270.
             That alone was a sufficient reason to deny Hight’s registration
             as a full pilot.

                                            2

                Hight offers three responses, but none shows the Coast
             Guard’s decision was arbitrary and capricious.

                  First, Hight claims the Pilots Association could not have
             mandated St. Lawrence River trips for completion of the
             training program because, at the time, “applicant and deputy
             pilots were not allowed to practice” on the river. Hight
             Opening Br. 33. That argument is incorrect.

                  To start, Hight never fairly presented that argument to the
             Coast Guard for it to consider. Hight raised this argument in a
             declaration he submitted in the district court in Hight I. J.A.
             254. After the district court remanded the case to the Coast
             Guard, however, Hight did nothing more than attach that
             declaration to his letter appealing Haviland’s registration
             denial. See J.A. 107. At the same time, in the body of that
             letter, Hight took the opposite position. He insisted that he had
             completed the “training prescribed” by the Pilots Association,
             including “round trips on the designated waters of District
             One[.]” J.A. 107.

                 Such contradictory positions will not suffice. When a
             party seems “to abandon its argument * * * by taking
             inconsistent positions, the agency d[oes] not have a fair
             opportunity to address th[at] argument.” Busse Broad. Corp.
             v. Federal Communications Comm’n, 87 F.3d 1456, 1461
             (D.C. Cir. 1996).
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025        Page 19 of 29




                                            19
                 In addition, the evidence before the agency contradicted
             Hight’s contention.       Hight, himself, submitted training
             documentation that reflected he completed multiple river trips
             during the applicant pilot phase. J.A. 208–209. Yet the Pilots
             Association provided evidence that Hight piloted on the river
             only once during the deputy pilot phase, a fact that Hight does
             not dispute J.A. 205, 207. The training plan specifically
             required “trips” to occur during the deputy pilot phase, and that
             omission is what informed the Coast Guard’s pilot-registration
             decision.

                 Second, Hight argues that Emerson failed to explain why
             Hight was required to make multiple river trips when, in his
             view, other deputy pilots were not.

                 To be sure, “‘dissimilar treatment of evidently identical
             cases’ is ‘the quintessence of arbitrariness and caprice.’”
             Grayscale Invs., LLC v. SEC, 82 F.4th 1239, 1245 (D.C. Cir.
             2023) (quoting Colorado Interstate Gas Co. v. FERC, 850 F.2d
             769, 774 (D.C. Cir. 1988)). But Hight has failed to make any
             colorable showing of disparate treatment.

                  Hight claims he identified to the Coast Guard eleven
             deputy pilots who did not complete river training prior to
             obtaining pilot registration. Hight Reply Br. 3–4. But the
             record tells a different story. Hight never identified for the
             Coast Guard a single individual who had received pilot
             registration after completing just one evaluated trip on the
             designated waters of the St. Lawrence River. Instead, in an
             email exchange with Rajiv Khandpur, Chief of the Coast Guard
             Office of Waterways and Ocean Policy, Hight vaguely stated:
             “I suggest you exam[ine] pilot training records from pilot 164
             to pilot 173 in order to gain some validity to the history of
             training by the [Association].” J.A. 208. Hight was pilot 170,
             J.A. 103, but Hight made no factual representation about the
USCA Case #23-5273      Document #2113957                  Filed: 05/02/2025         Page 20 of 29




                                              20
             training pilots 164 to 173 received. Such unsubstantiated and
             unexamined assertions are insufficient to make out a plausible
             claim of differential treatment by an agency.

                  In a portion of his Hight I declaration, Hight referred to the
             training of a different pilot, Christopher Weigler. J.A. 255–
             258; see also J.A. 107. But that declaration addressed only
             Weigler’s applicant pilot training. Specifically, Hight averred
             that he “had approximately the same number of river trips as
             Weigler[,]” that the two “completed these river trips in the
             same time and manner[,]” and that Weigler “completed these
             trips in his first 6 months of training when he was an ‘applicant
             trainee.’” J.A. 256 (emphasis added).

                  That information was beside the point because it said
             nothing about whether Weigler or any other deputy pilot was
             registered as a full pilot after taking only one supervised St.
             Lawrence River trip during the deputy training phase. In fact,
             Hight suggested the opposite in his declaration when he said
             that, after Weigler passed the written exam, the Pilots
             Association still made him complete additional river trips
             before registering him as a pilot. J.A. 257. That demonstrates
             consistency with the requirement imposed on Hight in this
             case. See Northstar Wireless, LLC v. Federal Communications
             Comm’n, 38 F.4th 190, 205 (D.C. Cir. 2022) (rejecting
             petitioners’ claim of dissimilar treatment when “[t]he record
             [did] not bear [it] out”); see also Intellistop Inc. v. United States
             Dep’t of Transportation, 72 F.4th 344, 351 (D.C. Cir. 2023)
             (“[A]n agency does not act arbitrarily if it treats dissimilar
             parties differently[.]”).

                 Finally, Hight claims the Coast Guard’s explanations for
             denying his pilot registration were “pretextual[.]” Hight
             Opening Br. 27, 38, 47. Specifically, Hight insists that Boyce
             refused to recommend him for registration in retaliation for
USCA Case #23-5273      Document #2113957                  Filed: 05/02/2025         Page 21 of 29




                                              21
             Hight’s questions about the Pilots Association’s finances and
             Boyce’s practices, including his close relationship with
             Haviland. Id. at 11–12.

                 When assessing agency action for pretext, a court is
             “ordinarily    limited    to     evaluating  the    agency’s
             contemporaneous explanation in light of the existing
             administrative record.” Department of Commerce v. New York,
             588 U.S. 752, 780 (2019) (citing Vermont Yankee Nuclear
             Power Corp. v. Natural Res. Def. Council, Inc., 435 U.S. 519,
             549 (1978)). Hight’s speculative accusations find no factual
             support in the record and, without more, are insufficient to
             upset the presumption that public officials “have properly
             discharged their official duties.” United States v. Chemical
             Found., 272 U.S. 1, 14–15 (1926).

                  In sum, the Coast Guard rationally concluded that Hight
             failed to complete the Pilots Association’s mandated river-trip
             training and, in reaching that conclusion, engaged in reasoned
             decision-making. 1

                                              B

                 Hight’s private non-delegation challenge fares no better.
             Generally, a delegation of authority to a private entity is
             constitutional so long as the private entity acts only “as an aid”

                 1
                     Because Hight’s failure to complete the training program was
             an independent and sufficient basis for the Coast Guard’s decision,
             we need not address the Coast Guard’s alternative grounds for
             denying Hight registration.         See BDPCS, Inc. v. Federal
             Communications Comm’n, 351 F.3d 1177, 1183 (D.C. Cir. 2003)
             (“When an agency offers multiple grounds for a decision, we will
             affirm the agency so long as any one of the grounds is valid, unless
             it is demonstrated that the agency would not have acted on that basis
             if the alternative grounds were unavailable.”).
USCA Case #23-5273     Document #2113957               Filed: 05/02/2025        Page 22 of 29




                                           22
             to an accountable government agency that retains the ultimate
             authority to “approve[], disapprove[], or modif[y]” the private
             entity’s actions and decisions on delegated matters. Sunshine
             Anthracite Coal Co. v. Adkins, 310 U.S. 381, 388 (1940). But
             where Congress does not expressly authorize an agency to
             delegate authority, “subdelegations to outside parties are
             assumed to be improper[.]” United States Telecom Ass’n v.
             Federal Communications Comm’n., 359 F.3d 554, 565 (D.C.
             Cir. 2004); see also Louisiana Pub. Serv. Comm’n v. FERC,
             860 F.3d 691, 696 (D.C. Cir. 2017) (“Federal agencies may not
             subdelegate their ‘decision-making authority * * * to outside
             entities—private or sovereign—absent affirmative evidence of
             authority to do so.’”) (quoting United States Telecom Ass’n,
             359 F.3d at 566). The only exceptions to that presumption are
             delegations that involve “‘(1) establishing a reasonable
             condition for granting federal approval; (2) fact gathering; and
             (3) advice giving.’” International Dark-Sky Ass’n, Inc. v.
             Federal Communications Comm’n, 106 F.4th 1206, 1216
             (D.C. Cir. 2024) (quoting United States Telecom Ass’n, 359
             F.3d at 566). As a result, an agency “may turn to an outside
             entity for advice and policy recommendations, provided the
             agency makes the final decisions itself.” United States
             Telecom Ass’n, 359 F.3d at 568. That is what the Coast Guard
             did here.

                                            1

                  The Pilots Association advised the Coast Guard of its view
             on Hight’s registration request and helped gather facts relevant
             to that request from its training program and records. J.A. 67–
             72, 197–198, 205–207. That is where the Pilots Association’s
             input stopped. Consistent with the procedures established by
             its governing regulations, the Coast Guard independently
             reviewed the relevant evidence, including not just information
             from the Association, but also from Hight, and then exercised
USCA Case #23-5273      Document #2113957                  Filed: 05/02/2025         Page 23 of 29




                                              23
             final and independent decision-making authority in declining
             to register Hight.

                  The Coast Guard independently evaluated whether Hight
             “completed [the] course of instruction” prescribed by the Pilots
             Association. 46 C.F.R. § 401.220(b)(2) (2021). In an April
             2018 email, Haviland explained to Hight that he was in the
             “process of auditing the specific items” of the Pilots
             Association training plan that the Association said Hight had
             not yet satisfied. J.A. 182. Haviland then openly invited Hight
             to share records with the Coast Guard demonstrating that he
             had completed the training. “If I am in error, and you can
             demonstrate, with records, that you have completed all of your
             training,” Haviland wrote, “I will reconsider my position with
             regard to issuing the exam.” J.A. 183. 2

                  Hight responded the next month by sending the Coast
             Guard 48 pages of trip records. J.A. 193. The Coast Guard
             sent those documents to the Pilots Association to “validate[.]”
             J.A. 194–195. But the Coast Guard also separately conducted
             its own review of the records.            See J.A. 208–212.
             Subsequently, the Pilots Association—not Hight—provided
             the Coast Guard documentation of Hight’s only eligible river
             trip from the deputy pilot phase. See J.A. 205–207, 209. All
             the trips identified by Hight in his documents proved irrelevant
             because they occurred during the applicant phase, prior to him
             becoming a deputy pilot. J.A. 208–209.

                 The Coast Guard also independently determined that Hight
             lacked the necessary “pilot temperament” based on the two

                 2
                    At the time of this exchange, the Coast Guard was focused on
             whether Hight was eligible to sit for the pilotage exam, but the same
             evidence underlay the Coast Guard’s subsequent registration
             decision. J.A. 182–183, 270.
USCA Case #23-5273     Document #2113957               Filed: 05/02/2025        Page 24 of 29




                                           24
             boating incidents and his “antagonistic and aggressive” emails
             to Coast Guard staff. J.A. 274; see also 46 C.F.R.
             § 401.210(a)(3) (2021) (requiring pilots to be of “good moral
             character and temperate habits”). As for the two incidents, the
             agency investigated the tugboat accident on its own and relied
             on the Pilots Association only to gather facts about the
             confrontation on the Federal Hudson. Haviland first learned of
             the tugboat accident when a representative of the Canadian
             tugboat company told him about the boat’s damage. J.A. 182.
             Haviland then directed a Coast Guard official to investigate the
             incident. J.A. 182. For the Federal Hudson incident, the Pilots
             Association sent Haviland the written account prepared by the
             Federal Hudson master for Haviland to evaluate on his own.
             J.A. 172–173.

                  Finally, in reaching its decision, the Coast Guard received
             a “recommendation[]” from the Pilots Association about
             whether to register Hight. See 46 C.F.R. § 401.220(c) (2021).
             Yet the Coast Guard was explicit that the recommendation was
             mere “input.” J.A. 273. In his initial decision, Haviland
             explained that his practice was to “rely” on association
             recommendation letters to confirm that applicants had
             completed their training and had “the requisite knowledge,
             skill, professionalism, integrity, and judgment to serve” as
             registered pilots. J.A. 87. But he emphasized that he “would
             deny [Hight’s] request even with a positive endorsement” from
             the Pilots Association because of Hight’s “lack of integrity and
             judgment[.]” J.A. 87.

                  Emerson’s final decision for the Coast Guard echoed this
             view. He noted that receiving a recommendation from a pilot
             association is a “standard industry practice” that “informs a
             licensing body[,]” and that Hight I had not “foreclosed any
             further input from the [Pilots Association] on Captain Hight’s
             fitness to hold a full registration[.]” J.A. 272–273. But at no
USCA Case #23-5273     Document #2113957               Filed: 05/02/2025        Page 25 of 29




                                           25
             point did Emerson suggest that a positive recommendation
             from the Pilots Association was a mandatory precondition for
             pilot registration.

                  In short, the Coast Guard limited the Pilots Association’s
             involvement to “fact gathering” and “advice giving”—two
             “legitimate” “types” of “outside party input into agency
             decision-making processes[.]” United States Telecom Ass’n.,
             359 F.3d at 566. Beyond that, the record shows that the Coast
             Guard itself reviewed the record, requested additional
             information from Hight for its consideration, and then reached
             an independent judgment that Hight failed to satisfy the
             required training program for registration based on a fact about
             St. Lawrence River experience that Hight does not dispute.

                                            2

                 Hight and his State amici offer several arguments in
             response, but none succeeds.

                  First, Hight claims the Pilots Association “furnished”
             every ground the Coast Guard relied on to deny Hight’s
             registration. Hight Opening Br. 51. That is not true. As
             described, Haviland learned of the tugboat accident not from
             the Pilots Association, but from the company whose tugboat
             was damaged. J.A. 182. The Coast Guard also faulted Hight
             for the tone of his correspondence with the agency, not with the
             Pilots Association. J.A. 274.

                  Second, Hight argues that, “[p]rior to this litigation, the
             Coast Guard was quite open about the fact that it believed that
             the [Pilots] Association had the final say on who gets to be a
             pilot.” Hight Reply Br. 23. This claim too is belied by the
             record. Much of Hight’s evidence goes to the Pilots
             Association’s control over employment, not registration. See,
USCA Case #23-5273     Document #2113957                Filed: 05/02/2025        Page 26 of 29




                                            26
             e.g., J.A. 183, 187 (Coast Guard officials told Hight,
             “[r]egarding being included in the tour-de-role, that is between
             you and your pilot association[,]” and “[t]he issues with your
             employment status [are] between you and the [Association].”).

                  To be sure, on one occasion, a lower-level Coast Guard
             official suggested that a recommendation from the Pilots
             Association was necessary for Hight to obtain full pilot
             registration. J.A. 188. But in his final decision denying
             Hight’s request to take the exam, Emerson explained that
             completing        training—not      receiving     a     positive
             recommendation—was the relevant prerequisite. See J.A. 126
             (“Because [the written] examination requires travel by the
             applicant pilot, by Coast Guard personnel, or both, it simply
             does not make sense to provide an examination to an applicant
             pilot who may not ultimately complete the association’s
             specified training, which is [a] long-established prerequisite to
             full registration.”).

                  Third, Hight pivots and argues that the Coast Guard
             impermissibly delegated regulatory authority to the Pilots
             Association by essentially surrendering control over pilot
             training to it. See Hight Opening Br. 52–53. While Hight
             presented a version of this argument in his administrative
             appeal, see J.A. 120, he abandoned it before the district court.
             There, Hight argued only that the Coast Guard impermissibly
             delegated registration authority to the Pilots Association and
             improperly deferred to the Pilots Association’s interpretation
             of the minimum trips requirement. But he did not separately
             argue that the Association exercised impermissible control
             over training. See Hight Mot. Summ. J. [ECF No. 28] 30–36;
             Hight Opposition to Defs.’ Cross-Motion [ECF No. 36] at 14–
             21 (same). “[A]bsent exceptional circumstances, a party
             forfeits an argument by failing to press it in district court.”
             Apprio, Inc. v. Zaccari, 104 F.4th 897, 910 (D.C. Cir. 2024)
USCA Case #23-5273     Document #2113957                 Filed: 05/02/2025        Page 27 of 29




                                            27
             (citation omitted). And Hight has not offered any relevant
             justification for his omission here.

                  Finally, the State amici argue that the Coast Guard’s
             delegation was unconstitutional because it failed to establish
             “discernible standards” for pilot associations’ “exercise of their
             authority” and because “[n]either the statutes nor the
             regulations say what an association should base [its]
             recommendation on[.]” Amici Br. 19–20. That is not an
             argument that Hight has ever raised, and “we ordinarily do not
             entertain arguments not raised by parties[.]” CSX Transp., Inc.
             v. Surface Transp. Board, 754 F.3d 1056, 1064 (D.C. Cir.
             2014) (citation omitted). We are especially mindful of that
             guidance here because of the “longstanding principle of
             judicial restraint” that requires “courts [to] avoid reaching
             constitutional questions in advance of the necessity of deciding
             them.” Camreta v. Greene, 563 U.S. 692, 705 (2011) (citation
             omitted).

                 In sum, the record in this case shows that the Pilots
             Association’s limited role in registration decisions comports
             with established limitations on agency delegations of authority.

                                             C

                  Finally, Hight argues that two related aspects of the Great
             Lakes pilotage system violate the First Amendment. First, he
             challenges the requirement that he train with the Pilots
             Association to become a registered pilot. Second, he argues it
             is unconstitutional to condition his ability to work as a
             registered pilot on joining the Pilots Association and
             purchasing a share of its corporate stock.

                  Hight’s contention that requiring him to work with the
             Pilots Association to obtain the training necessary to qualify as
USCA Case #23-5273      Document #2113957                Filed: 05/02/2025         Page 28 of 29




                                             28
             a pilot violates his right to free association is forfeited because
             he did not raise it before the district court. See Apprio, 104
             F.4th at 910.

                  As for Hight’s concern about having to join the Pilots
             Association after being registered as a pilot, that claim is not
             ripe. Ripeness is a legal doctrine that prevents courts, “through
             avoidance of premature adjudication, from entangling
             themselves in abstract disagreements over administrative
             policies[.]” Chlorine Inst., Inc. v. Federal R.R. Admin., 718
             F.3d 922, 927 (D.C. Cir. 2013) (quoting National Park
             Hospitality Ass’n v. Department of Interior, 538 U.S. 803, 807–
             808 (2003)). “Ripeness, while often spoken of as a
             justiciability doctrine distinct from standing, in fact shares the
             constitutional requirement of standing that an injury in fact be
             certainly impending.” National Treasury Emps. Union v.
             United States, 101 F.3d 1423, 1427 (D.C. Cir. 1996).

                  At this point, Hight’s claimed injuries—having to join the
             Pilots Association and purchase its stock—are not “certainly
             impending” for several reasons. To start, Hight is still only a
             deputy pilot and, as such, is ineligible to join the Pilots
             Association. So he is under no membership obligation at this
             time.

                  In addition, it is uncertain when, if ever, the Coast Guard
             will grant Hight full pilot registration. Even if Hight completes
             the required training, registration is not guaranteed. The Coast
             Guard once before determined that Hight lacked the
             temperament necessary to be a maritime pilot. J.A. 274. Other
             barriers to registration could also arise, even assuming that
             Hight finishes his thus-far incomplete training regimen.

                 Equally unclear is whether the Pilots Association would
             permit Hight to join should he receive pilot registration since
USCA Case #23-5273     Document #2113957               Filed: 05/02/2025        Page 29 of 29




                                           29
             the Pilots Association has twice recommended he not be
             allowed to serve as a pilot. See J.A. 67–71, 153–154. Given
             these uncertainties, it is far from imminent—or even
             foreseeable at the present time—that Hight will be in a position
             of having to decide whether to join the Pilots Association or
             purchase its stock in order to pilot on the Great Lakes and St.
             Lawrence River.

                 Our “review is inappropriate” when, as here, “deferring
             consideration might eliminate the need for review altogether.”
             Chamber of Commerce of U.S. v. Reich, 57 F.3d 1099, 1100
             (D.C. Cir. 1995).

                                           IV

                 For the foregoing reasons, we affirm the district court’s
             judgment.
                                                             So ordered.
